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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------ X
                                       :
 UNITED STATES OF AMERICA              :                         FINAL ORDER OF FORFEITURE
                                       :
                -v.-                   :                         S1 09 Cr. 801 (RMB)
                                       :
 JAMES WASHINGTON,                     :
    a/k/a “Harlem,”                    :
                                       :
                     Defendant.        :

------------------------------------ X
               WHEREAS, on or about August 6, 2020, the Court entered a Preliminary Order of

Forfeiture as to Substitute Assets (the “Substitute Assets Order”) (D.E. 172) with respect to the

Defendant, forfeiting all right, title and interest of the Defendant in the following assets:

                       a. $9,250 in United States currency in the possession of the United States
                          Marshals Service, representing the portion of payments made by the
                          Social Security Administration to Defendant from January 2016 through
                          July 2020 that was intercepted by the Treasury Offset Program; and has
                          stated that the TOP will never offset a monthly Social Security Payment
                          that is equal or less than $750.00; and

                       b. The portion of any and all future disbursements from the Government
                          to the Defendant, including but not limited to income tax return refunds
                          and Social Security payments, which may be intercepted by the
                          Treasury Offset Program, up to the amount of the outstanding Money
                          Judgment;

(a. through b., collectively, the “Substitute Assets”);

               WHEREAS, the Substitute Assets Order directed the United States to publish, for

at least thirty (30) consecutive days, notice of the Substitute Assets Order, notice of the United

States= intent to dispose of the Substitute Assets, and the requirement that any person asserting a

legal interest in the Substitute Assets must file a petition with the Court in accordance with the

requirements of Title 21, United States Code, Sections 853(n)(2) and (3). The Substitute Assets

Order further stated that the United States could, to the extent practicable, provide direct written
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notice to any person known to have an alleged interest in the Substitute Assets and as a substitute

for published notice as to those persons so notified;

               WHEREAS, the provisions of Title 21, United State Code, Section 853(n)(1), Rule

32.2(b)(6) of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of

the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, require

publication of a notice of forfeiture and of the Government’s intent to dispose of the Substitute

Assets before the United States can have clear title to the Seized Assets and the Substitute Assets;

               WHEREAS, the Notice of Forfeiture and the intent of the United States to dispose

of the Substitute Assets was posted on an official government internet site (www.forfeiture.gov)

beginning on August 29, 2020, for thirty (30) consecutive days, through September 27, 2020,

pursuant to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty and Maritime Claims

and Asset Forfeiture Actions and proof of such publication was filed with the Clerk of the Court

on October 30, 2020 (D.E. 173);

               WHEREAS, on or about September 11, 2020, notice of the Preliminary Order of

Forfeiture was sent by certified mail, return receipt requested, to:

               a.      Yvonne Washington, New York, New York (the “Noticed Party”).

               WHEREAS, thirty (30) days have expired since final publication of the Notice of

Forfeiture and no petitions or claims to contest the forfeiture of the Substitute Assets have been

filed;

               WHEREAS, the Defendant and the Noticed Party are the only persons and/or

entities known by the Government to have a potential interest the Substitute Assets; and

               WHEREAS, pursuant to Title 21, United States Code, Section 853(n)(7), the

United States shall have clear title to any forfeited property if no petitions for a hearing to contest
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the forfeiture have been filed within thirty (30) days of final publication of notice of forfeiture as

set forth in Title 21, United States Code, Section 853(n)(2).

               NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

               1.      All right, title and interest in the Substitute Assets is hereby forfeited and

vested in the United States of America, and shall be disposed of according to law.

               2.      Pursuant to Title 21, United States Code, Section 853(n)(7) the United

States of America shall and is hereby deemed to have clear title to the Substitute Assets.

               3.      The United States Marshals Service (or its designee) shall take possession

of the Substitute Assets and dispose of the same according to law, in accordance with Title 21,

United States Code, Section 853(h).

               4.      The Clerk of the Court shall forward four certified copies of this Final Order

of Forfeiture to Assistant United States Attorney Alexander J. Wilson, Co-Chief, Money

Laundering and Transnational Criminal Enterprises          Unit, United States Attorney’s Office,

Southern District of New York, One St. Andrew’s Plaza, New York, New York 10007.

Dated: New York, New York
         November 2 2020
       ____________,

                                                      SO ORDERED:


                                                      ____________________________________
                                                      HONORABLE RICHARD M. BERMAN
                                                      UNITED STATES DISTRICT JUDGE




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